                                                                                                 Case 2:20-cv-02074-RFB-DJA Document 34 Filed 11/02/21 Page 1 of 2




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                                                                                          10
                                                                                                                            UNITED STATES DISTRICT COURT
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




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                                                                                                                                    DISTRICT OF NEVADA
                                                                                          12
                                                                                                                                                   Case No.: 2:20-cv-02074-RFB-DJA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                               BRIELLE MEAGHER, individually, and on
                                                                                          13
                                                                                               behalf of all others similarly situated,
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                                                                                          14
                                                            Wells Fargo Tower




                                                                                                                      Plaintiff,                    THIRD SUPPLEMENTAL JOINT STATUS
                                                                                          15                                                         REPORT REGARDING SETTLEMENT
                                                                                                      vs.
                                                                                          16
                                                                                          17   TELUS INTERNATIONAL (U.S.) CORP.,

                                                                                          18                          Defendant.

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                                                                                                      Plaintiff Brielle Meagher (“Plaintiff”) and Defendant TELUS International (U.S.) Corp.
                                                                                          21
                                                                                               (“Defendant”), by and through their respective counsel of record, hereby submit this Third
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                                                                                               Supplemental Joint Status Report Regarding Settlement. On July 12, 2021, the parties submitted
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                                                                                               their Joint Status Report Regarding Settlement (ECF No. 30) informing this Court that the parties
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                                                                                               attended private mediation with the Honorable Philip Pro (Ret.) on July 1, 2021 and that, after
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                                                                                               taking time to consider the mediator’s settlement proposal, on July 9, 2021, the parties confirmed
                                                                                          26
                                                                                               that they had come to a settlement in principle. The parties further requested up to and including
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                                                                                               July 26, 2021 to finalize the terms of the settlement. (Id.)
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                                                                                                 Case 2:20-cv-02074-RFB-DJA Document 34 Filed 11/02/21 Page 2 of 2




                                                                                           1             The parties next filed their First Supplemental Joint Status Report Regarding Settlement on

                                                                                           2   July 26, 2021 (ECF No. 31) and Second Supplemental Joint Status Report Regarding Settlement on

                                                                                           3   September 22, 2021 (ECF No. 32) as they continued to work on the terms of settlement in this

                                                                                           4   matter.
                                                                                           5             The parties have come to an agreement as to the terms of the settlement; however, they still
                                                                                           6   require additional time to put together a more comprehensive Settlement Agreement, including the
                                                                                           7   proposed content of applicable Notice(s).
                                                                                           8             As a result, the parties propose a deadline of December 1, 2021 to finalize the Settlement
                                                                                           9   Agreement and December 22, 2021 in which to file the Motion for Preliminary Class Action
                                                                                          10   Approval.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   DATED this 1st day of November, 2021.            DATED this 1st day of November, 2021.
                                                                                          12   BROWN, LLC                                        OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                 Suite 1500, 3800 Howard Hughes Parkway




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                                                                                               /s/ Nicholas R. Conlon                            /s/ Dana B. Salmonson
                                                           Las Vegas, NV 89169




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                                                            Wells Fargo Tower




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                                                                                               Wells Fargo Tower, 17th Floor
                                                                                          20
                                                                                               Las Vegas, NV 89169
                                                                                          21   Attorneys for Plaintiff

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                                                                                          24                         2nd day of November, 2021.

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